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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

Plaintiff(s), Case No. 2:19-cv-11944-PDB-APP

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Judge Paul D. Borman

HEALTHCARE REVENUE RECOVERY GROUP,

Magistrate Judge
LLC 9 :

Defendant(s).
/

STATEMENT OF DISCLOSURE
OF CORPORATE AFFILIATIONS AND FINANCIAL INTEREST

Pursuant to E. D. Mich. LR 83.4, HEALTHCARE REVENUE RECOVERY GROUP, LLC

 

makes the following disclosure: (NOTE: A negative report, if appropriate, is required.)

1. Is said corporate party a subsidiary or affiliate of a publicly owned corporation?
Yes T] No

If the answer is yes, list below the identity of the parent corporation or affiliate and the relationship
between it and the named party.

Parent Corporation/Affiliate Name:
Relationship with Named Party:

2. Is there a publicly owned corporation or its affiliate, not a party to the case, that has a substantial financial
interest in the outcome of the litigation?

Yes No
If the answer is yes, list the identity of such corporation or affiliate and the nature of the financial interest.

Parent Corporation/Affiliate Name:
Nature of Financial Interest:

Date: August 5, 2019 /s/ Ashley F. Eckerly

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